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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


GENENTECH, INC. and CITY OF HOPE,         )
                                          )
                       Plaintiffs,        )
                                          )
                  v.                      )
                                          )
AMGEN INC.                                ) C.A. No. 17-1471-GMS
                                          )
                       Defendant.         )
                                          )
                                          ) PUBLIC VERSION FILED: May 30, 2018
                                          )
                                          )


                OPENING BRIEF IN SUPPORT OF PLAINTIFFS’
     MOTION TO DISMISS AND TO STRIKE DEFENDANT’S COUNTERCLAIMS
     AND THIRD, FOURTEENTH, AND FIFTEENTH AFFIRMATIVE DEFENSES




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                           NATURE AND STAGE OF PROCEEDINGS

         This litigation concerns Amgen’s plans to market Mvasi, a “biosimilar” version of

Genentech’s best-selling cancer medication Avastin® (bevacizumab). Following months of pre-

litigation exchanges under the Biologics Price Competition and Innovation Act (“BPCIA”),

Plaintiffs sued Amgen in October 2017 asserting that the manufacture, marketing, and sale of

Mvasi infringes more than two dozen patents. Amended and Supplemental Complaints followed

in December 2017.

         The present Motion challenges certain aspects of the counterclaims and affirmative

defenses Amgen filed with its Answer on May 1, 20181:

         1.       In twenty-nine counterclaims, Amgen seeks declaratory judgments of

noninfringement, invalidity, or unenforceability on all of the patents-in-suit, plus two others. But

the BPCIA forecloses such claims where the biosimilar applicant did not comply with its pre-

litigation production obligations, in particular the timely production of both its Abbreviated

Biologics License Application (“aBLA”) and “such other information that describes the process

or processes used to manufacture the biological product that is the subject of such application.”

42 U.S.C. §§ 262(l)(2)(A); (9)(C). It is undisputed that Amgen made no timely production of the

latter category, and indeed disclaimed any requirement that it do so.

         2.       Even were these claims permissible, Amgen’s validity challenges are facially

deficient. For the eight patents expiring by December 18, 2018—patents Amgen did not

challenge during the pre-litigation exchanges—the counterclaims include only the most

perfunctory allegations that are plainly deficient under Iqbal/Twombly. In the remaining

1
         Plaintiffs have filed separate motions and opening briefs in both of the parties’ pending
actions (Nos. 17-1407 and 17-1471). The differences between the two briefs are non-substantive
in nature. In order to minimize the burden on the Court, Plaintiffs have included as an addendum
to this brief a redline document showing the differences between the two filings.



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counterclaims Amgen purports to challenge validity on grounds the BPCIA does not permit.

         3.       Facial pleading deficiencies also infect Amgen’s assertion that Genentech

committed inequitable conduct during prosecution of one of the patents-in-suit by allegedly

misrepresenting the content of the prior art. The Patent Office was fully aware of the references

Amgen cites, and blackletter law holds that a patent owner cannot commit inequitable conduct

by making arguments that the Patent Office is free to accept or reject. Amgen’s Fourteenth and

Fifteenth Affirmative Defenses suffer from the same defects as the inequitable conduct

counterclaim they parrot, and accordingly, must be dismissed.

         4.       There is no case or controversy, and therefore no subject-matter jurisdiction, over

two counterclaims addressed to certain patents that Genentech has stated it will not assert against

Amgen’s Avastin® biosimilar.

                                            ARGUMENT

I.       AMGEN’S DECLARATORY JUDGMENT CLAIMS ARE BARRED UNDER
         THE BPCIA.

         The BPCIA bars Amgen from seeking declaratory judgments under 28 U.S.C. § 2201 et

seq., challenging any of the twenty-six patents-in-suit. For this reason Counterclaims 1–29

should be dismissed for failure to state a claim under Rule 12(b)(6).

         The BPCIA requires innovators and biosimilar makers to engage in a robust pre-litigation

exchange of information, starting with the applicant’s production of its aBLA within twenty days

after the FDA accepts it, along with “such other information that describes the process or

processes used to manufacture the biological product,” essential information for the innovator’s

fair evaluation of the full scope of potential infringement.2 42 U.S.C. § 262(l)(2)(A). To


2
        As Amgen explained in other BPCIA litigation where it is the innovator and not the
generic, the required information about the applicant’s manufacturing processes is essential “to a
full and complete evaluation of [an innovator’s] patent portfolio,” because the aBLA typically

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encourage compliance the statute provides carrots and sticks. For example, applicants who

produce the aBLA and required “other information” on the prescribed schedule—within twenty

days after the FDA accepts the aBLA for filing—and who comply with the statute’s remaining

requirements are rewarded with substantial control over the timing and scope of any subsequent

patent litigation. Id. §§ 262(l)(4), (l)(5), (l)(8). Conversely, the BPCIA deters noncompliance by

expressly prohibiting claims under the Declaratory Judgment Act by applicants who do not

provide the innovator with the information the statute requires:

         If a subsection (k) applicant fails to provide the application and information
         required under paragraph (2)(A), the reference product sponsor, but not the
         subsection (k) applicant, may bring an action under section 2201 of title 28 for a
         declaration of infringement, validity, or enforceability of any patent that claims
         the biological product or a use of the biological product.
Id. § 262(l)(9)(C).

         Amgen’s undisputed noncompliance with § 262(l)(2)(A) has been a central feature of

proceedings in this Court since they started in February 2017. Amgen timely produced its aBLA

but disputed Genentech’s need for any “other information that describes the process or processes

used to manufacture the biological product that is the subject of such application,” or

alternatively Amgen’s obligation to produce additional information about its manufacturing

processes unless Genentech made a request of appropriate scope and specificity. When the

Court pointed out to Amgen that “you don’t get to constrain the flow of information to just the

application, the statute does not permit that,”3 Amgen argued that it could not be forced into



omits details about the applicant’s manufacturing processes that may infringe the innovator’s
process patents. See Amgen Inc. v. Hospira, Inc., No. 15-cv-00839-RGA, D.I. 1 (Complaint)
(filed D. Del. Sept. 18, 2015).
3
       Ex. 1 at 25. All citations to “Ex.” refer to the exhibits to the Declaration of Thomas S.
Fletcher submitted herewith. See also id. at 23 (“[T]he statute doesn’t say just the information in
the application. With all due respect, Mr. Gutman, it doesn’t say that, and that seems to be the
way you’re reading it. . . . That’s not the way I read the statute.”); 24 (“Now, you can write until

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compliance, and that Genentech’s only recourse were the remedies set forth in the statute. See

D.I. 11, Case No. 17-165-GMS (D. Del.) (D. Del. Feb. 27, 2017).

         This Motion now invokes one of those statutory remedies. The BPCIA makes clear, and

other courts have held, that “failure to comply with the information exchange requirements of the

BPCIA bar[s] the applicant from bringing a declaratory judgment action against the reference

product sponsor.” Celltrion Healthcare Co. v. Kennedy Tr. for Rheumatology Research, 2014

WL 6765996, at *5 (S.D.N.Y. Dec. 1 2014) (dismissing declaratory judgment action); see also

Celltrion, Inc. v. Genentech, Inc., No. 18-cv-00276, D.I. 47 (Memorandum Order) (filed N.D.

Cal. May 9, 2018) (same).

                  Under § 262(l)(9)(C), if an applicant fails to provide its application
                  and manufacturing information to the sponsor under
                  § 262(l)(2)(A), then the sponsor, but not the applicant, may
                  immediately bring an action for a declaration of infringement,
                  validity, or enforceability . . . .

Sandoz Inc. v. Amgen Inc., 137 S. Ct. 1664, 1666 (2017); see also Hospira, Inc. v. Janssen

Biotech, Inc., 2014 WL 6766263 (S.D.N.Y. 2014) (dismissing declaratory judgment action);

Sandoz Inc. v. Amgen Inc., 2013 WL 6000069, at *2 (N.D. Cal. Nov. 12, 2013) (biosimilar

applicant “cannot bring an action of declaratory relief until, at minimum, it has complied with its

obligations under § 262(l)(2)(A)”), aff’d on other grounds, 773 F.3d 1274 (Fed. Cir. 2014).

Every court to have considered this question has answered it the same way.

         It is not correct, as Amgen appears to contend, that once an applicant provides notice of

commercial marketing under 42 U.S.C. § 262(l)(8) “any limitation under the BPCIA on bringing

an action [under the Declaratory Judgment Act] is lifted.” See Countercl. ¶ 16. As Judge Wu

held in dismissing the anticipatory lawsuit Amgen filed in California in an effort to preempt this


the cows come home, Mr. Gutman, but you’re not going to persuade me, aside from your
procedural argument, that the statute doesn’t say what the statute says.”).

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 action, the notice of commercial marketing explicitly abates only one of the limitations on an

 applicant’s ability to seek declaratory relief: the limitation in (l)(9)(A); it does not lift the

 limitation in (l)(9)(C). See Amgen Inc. v. Genentech, Inc., 2018 WL 910198, at *4 (C.D. Cal.

 Jan. 11, 2018) (“Amgen’s argument that it was entitled to bring suit after providing its notice

 under § 262(l)(8)(A) but before completing the rest of the BPCIA’s patent list exchange steps is

 rejected”). In other words, fully compliant applicants have only a limited right to seek

 declaratory relief; noncompliant applicants have none at all. Counts 1–29 should be dismissed

 on this basis.

 II.      AMGEN’S INVALIDITY CLAIMS EXCEED THE PERMISSIBLE SCOPE
          UNDER THE BPCIA.

          The Counterclaims challenging the validity of all of the patents-in-suit should be

 dismissed under Rule 12(b)(6), and Amgen’s corresponding Third Affirmative Defense stricken

 under Rule 12(f), for an additional reason: Those allegations exceed the permissible scope under

 the BPCIA and, as to the subset Amgen did not challenge during the exchange of BPCIA

 contentions, assert no factual basis justifying the relief sought.

       A. The BPCIA Restricts The Scope Of Permissible Validity Challenges.

          As part of the BPCIA dispute resolution process (commonly called the “patent dance”),

 the parties are required to exchange contentions on the merits of the infringement claims. Sixty

 days after the innovator identifies patents it believes to be infringed by the proposed biosimilar,

 the applicant provides non-infringement and invalidity/unenforceability contentions to all patents

 except those it plans to let expire before commercialization, 42 U.S.C. § 262(l)(3)(B). Sixty days

 after that the innovator provides responsive contentions for those patents it still believes are

 infringed, id. at § 262(l)(3)(C).

          Amgen’s Counterclaims and Affirmative Defenses treat the BPCIA contentions as having


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 no force or effect, leaving Amgen free to assert validity positions it did not disclose as part of the

 statutory exchanges. See, e.g., Affirmative Def. ¶ 3; Countercl. ¶ 102 (patents are invalid “for at

 least the reasons set forth in Amgen’s disclosure pursuant to 42 U.S.C. § 262(l)(3)(B)”

 (emphasis added)). The statute does not permit this.

          The “unique and elaborate process for information exchange” enacted in the BPCIA,

 including the exchange of contentions concerning infringement, validity, and enforceability the

 parties completed last July, was designed and intended “to resolve patent disputes” prior to the

 commencement of litigation. Amgen Inc. v. Sandoz, Inc. 794 F.3d 1357, 1352 (Fed. Cir. 2015).

 Innovator companies, biosimilar applicants, and the courts depend on the exchange of

 information that occurs during this process to make these sprawling litigations manageable—

 they determine which patents will be litigated, when they will be litigated, and how the litigation

 will unfold.4 By participating in the “patent dance,” the applicant obtains valuable information

 about the innovator’s infringement and validity positions, can prevent the innovator from filing a

 declaratory judgment suit, and gains “substantial control over the scope of the first phase of

 litigation” by limiting the number of patents in that phase to as few as one. Sandoz, 137 S. Ct. at

 1671 (citing § 262(l)(5)(B)(ii)); see also id. § 262(l)(9)(B). If the applicant identifies compelling

 invalidity or non-infringement positions, the sponsor may drop certain patents from the “patent
 4
          Even in the context of district courts’ patent local rules, where contentions can be
 amended by leave of the court, parties are often held to the contentions they have made early in
 litigation. Indeed, courts routinely penalize attempts to deviate from the contentions required by
 the patent local rules, including by refusing to entertain claim-construction and infringement
 arguments made “after the relevant cut-off dates under the . . . [r]ules,” SanDisk Corp. v.
 Memorex Prods., Inc., 415 F.3d 1278, 1292 (Fed. Cir. 2005), striking claims that were not
 asserted in preliminary contentions, Informatica Corp. v. Bus. Objects Data Integration, Inc.,
 No. C 02-3378 JSW, 2006 WL 463549 (N.D. Cal. Feb. 23, 2006), and excluding “evidence
 because of the failure to comply with the disclosure deadlines required by the local patent
 rules.” O2 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 467 F.3d 1355 (Fed. Cir. 2006). The
 case for holding Amgen to its contentions is all the more compelling in the context of the
 BPCIA’s statutory requirement to provide contentions to narrow the parties’ disputes.


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 dance.” This is precisely what occurred here—after receiving Amgen’s (l)(3)(B)(ii)(I)

 contentions as to nineteen patents, Genentech chose to serve its own responsive contentions for

 only seventeen of those patents, removing two patents from dispute. See infra Part IV. The

 exchange of contentions may also lead the parties to prioritize resolution of certain patent

 disputes, selecting them for the “immediate patent infringement action” described in § 262(l)(6)

 and leaving other patents to be addressed after the applicant provides notice under § 262(l)(8).

          It would defeat these objectives and throw the statutory scheme into chaos if the parties’

 contentions became non-binding once the BPCIA litigation started, as Amgen’s Counterclaims

 and Affirmative Defenses contemplate. Were applicants like Amgen allowed to provide new

 invalidity contentions after completion of the “patent dance,” they easily could avoid the

 obligation to provide meaningful (l)(3)(B)(ii)(I) contentions, even for those potentially infringed

 patents the applicant fully intends to challenge. The applicant could, for example, provide

 limited contentions for the patents about which the applicant is most confident and then, for other

 patents, simply make the sort of boilerplate assertion found in Amgen’s counterclaims—that the

 patent’s claims “are invalid for failure to comply with one or more conditions of patentability set

 forth in one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112, or under other

 judicially-created bases for invalidation and/or unenforceability.” E.g., Countercl. ¶ 71. The

 applicant could leave the sponsor in the dark about its true invalidity position while still forcing

 the sponsor to serve responsive contentions, expose its own litigation strategy, and select patents

 to litigate in the immediate infringement action and later preliminary injunction proceedings

 based on incomplete information. See 42 U.S.C. § 262(l)(6), (l)(8).

          An applicant could even refrain from providing BPCIA contentions at all. That is

 precisely what Amgen did as to the eight patents for which Amgen represented under 42 U.S.C.



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 § 262(l)(3)(B)(ii)(II) that “it does not intend to begin commercial marketing of its ABP 215

 biosimilar product before the dates of expiration” of these patents. Making that representation

 allowed Amgen to serve no invalidity contentions as to any of the eight patents in question. No

 applicant would ever provide the contentions contemplated by § 262(l)(3)(B)(ii)(I) if it could

 instead simply make an illusory commitment not to commercially market its product and then

 challenge the validity of the sponsor’s patents at a later date, and on an undisclosed basis,

 without consequence.

          In short, if the contentions exchanged during the “patent dance” do not define the scope

 of the litigation, what purpose do they serve?5

          The Court has set an extremely accelerated schedule compared to similar BPCIA

 litigations involving comparable numbers of patents, including the only other case in which

 Amgen was a biosimilar applicant. AbbVie Inc., et al. v. Amgen Inc., et al., C.A. No. 16-666-

 SLR, D.I. 26; AbbVie Inc., et al. v. Boehringer Ingelheim Int’l, et al., C.A. No. 17-1065-MSG,


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        In a recent case where it was the innovator company, Amgen echoed many of these
 concerns to enforce a representation a generic applicant made during the “patent dance”:
                   It cannot be the case that a biosimilar applicant can simply
                   disavow its own statements made during the statutory exchange,
                   especially after such detrimental reliance on the part of the
                   Reference Product Sponsor. . . . Otherwise, the purposes of the
                   statutory information exchange—efficient resolution of patent
                   issues—would be thwarted.

 Amgen Inc. v. Apotex, Inc., 17-1010, ECF No. 28 at 45 (Fed. Cir. Dec. 5, 2016). The need to
 enforce an applicant’s (l)(3)(B) contentions is, if anything, more pressing in this case. Amgen’s
 grievance in Apotex concerned a question of fact (the concentration of a certain protein) that
 could be independently investigated. The Federal Circuit’s unpublished decision in the Apotex
 case explicitly indicates that it was not asked to resolve, and did not resolve, the question
 presented by this motion. See Amgen Inc. v. Apotex Inc., 712 F. App’x 985, 989 (Fed. Cir. 2017)
 (“Amgen does not argue that Apotex is legally bound by its statements about protein
 concentration [during the “patent dance”]; indeed, both in the district court and in this court,
 Amgen has disclaimed such an argument.”).


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 D.I. 29. That schedule requires Plaintiffs, in the early stages of fact discovery, to narrow the case

 by selecting eight of the twenty-six asserted patents to pursue. The notion that Plaintiffs must

 make that crucial selection without the assurance that Amgen’s arguments are limited to those

 Amgen disclosed when it was narrowing disputes during the patent dance is unprecedented,

 unworkable, and unfair. The only realistic prospect for meeting the Court’s schedule for

 narrowing and litigating this case is for the parties’ disputes to shrink, not expand. Plaintiffs

 respectfully submit that the Court should hold Amgen to its previously served contentions and, to

 the extent they rely on invalidity positions Amgen did not disclose during the “patent dance,”

 dismiss Amgen’s invalidity allegations under Rule 12(b)(6), and strike its Third Affirmative

 Defense under Rule 12(f).

     B. For Eight Patents, Amgen Pleads Nothing But Boilerplate.

          Amgen represented that it would not commercialize Mvasi before December 18, 2018,

 and consequently served no BPCIA contentions challenging the infringement or validity of eight

 patents-in-suit that expire by that date. 6 D.I. 39 (First Am. Compl.) ¶ 18. Amgen apparently

 believed that its representation would somehow shield its infringing pre-launch manufacturing

 activities. This is not the case. Plaintiffs’ operative Complaint therefore includes allegations that

 Amgen infringed these patents by, inter alia, its pre-launch manufacturing activities. Amgen

 responded with counterclaims seeking to invalidate the patents. These counterclaims should be

 dismissed for the additional reason that Amgen’s pleading fails to provide any factual basis to

 support them.

          “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements

 6
        Those patents are U.S. Patent Nos. 6,054,297 (Counterclaim Count 1); 6,121,428
 (Counterclaim Count 2); 6,242,177 (Counterclaim Count 3); 6,331,415 (Counterclaim Count 4);
 6,884,879 (Counterclaim Count 11); 7,297,334 (Counterclaim Count 14); 7,375,193
 (Counterclaim Count 16); 7,923,221 (Counterclaim Count 19).


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 of a cause of action will not do.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

 Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Neither will a pleading that offers only “ ‘naked

 assertion[s]’ devoid of ‘further factual enhancement.’ ” Id. (quoting Twombly, 550 U.S. at 557)

 (alteration in original). To survive a motion to dismiss, Amgen’s counterclaims “must contain

 sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’ ”

 Id. (quoting Twombly, 550 U.S. at 555). These standards apply equally to counterclaims and

 complaints alike. See Senju Pharm. Co. v. Apotex, Inc., 921 F. Supp. 2d 297, 302–03 (D. Del.

 2013); accord Idenix Pharm., Inc. v. Gilead Scis., Inc., No. CV 13-1987-LPS, 2014 WL

 4222902, at *5 (D. Del. Aug. 25, 2014); EMC Corp. v. Zerto, Inc., No. CV 12-956-GMS, 2014

 WL 3809365, at *2 (D. Del. July 31, 2014). A counterclaim seeking a declaratory judgement of

 invalidity must “contain sufficient factual matter to satisfy the pleading standards set forth in

 Twombly and Iqbal.” EMC Corp., 2014 WL 3809365, at *2.

          For the eight patents it did not address in its BPCIA invalidity contentions, Amgen does

 not come close to satisfying this requirement, offering nothing but the boilerplate allegation that

 the patents’ claims “are invalid for failure to comply with one or more conditions of patentability

 set forth in one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112, or under other

 judicially-created bases for invalidation and/or unenforceability.” E.g., Countercl. ¶ 71. This is

 nothing but “a mere legal conclusion, [with] no supporting facts,” that simply “cites four broad

 provisions of Title 35 of the United States Code,” Tyco Fire Prod. LP v. Victaulic Co., 777 F.

 Supp. 2d 893, 904 (E.D. Pa. 2011), and for that reason “plainly does not satisfy [the

 Twombly/Iqbal] standard.” Id. Courts routinely reject such “bare-bones” assertions of invalidity

 in counterclaims. See EMC Corp., 2014 WL 3809365, at *2 (dismissing under Twombly and

 Iqbal counterclaims alleging “invalid[ity] for failure to comply with the conditions for



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 patentability specified by Title 35 of the United States Code, including without limitation 35

 U.S.C. §§ 101, 102, 103 and 112”); see also Senju Pharm. Co., 921 F. Supp. 2d at 300 (rejecting

 a substantially similar pleading); Idenix Pharm., Inc., 2014 WL 4222902, at *6 (same).7

 III.     AMGEN FAILS TO PLEAD A VIABLE THEORY OF INEQUITABLE
          CONDUCT.

          Count 29 seeks a declaration that one of the asserted patents, U.S. Patent No. 6,407,213

 (“Carter/Presta”), is unenforceable for inequitable conduct. See Countercl. ¶¶269-82 (Count 29);

 see also Aff. Defs. ¶¶ 15-26 (Fourteenth and Fifteenth Affirmative Defenses asserting unclean

 hands and inequitable conduct based on same allegations in Count 29). Carter/Presta is a

 “composition of matter” patent that claims antibodies including bevacizumab, the active

 ingredient in Avastin® and the molecule Amgen has copied. Any manufacture of bevacizumab

 in the United States prior to Carter/Presta’s expiry would be infringing.

          Unlike the typical inequitable conduct case, see, e.g., Therasense, Inc. v. Becton,

 Dickinson & Co., 649 F.3d 1276, 1290 (Fed. Cir. 2011) (en banc), Amgen does not allege that

 Genentech deliberately concealed references in its possession from the Patent Office. On the

 contrary, Amgen acknowledges that the Patent Office possessed and explicitly considered the

 two identified references—“Queen 1989” and the “’101 patent,” Aff. Defs. ¶¶ 16-17—the

 Examiner having cited each of them as the basis for rejections during prosecution, Aff. Defs.

 ¶¶ 18, 20. Amgen’s theory challenges Genentech’s arguments about what these references teach.

 Id. ¶ 16; Countercl. ¶ 271.

          This is a legally inadequate allegation of inequitable conduct. The Federal Circuit has


 7
         It is true that these eight Counterclaims also incorporate by reference the invalidity
 contentions Amgen provided during the “patent dance” pursuant to 42 U.S.C. § 262(l)(3)(B).
 E.g., Countercl. ¶ 71. That incorporation provides no factual support for Amgen’s assertions,
 given that its BPCIA contentions did not challenge the validity or infringement of those patents.


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 held repeatedly that a patent applicant’s characterizations of the prior art cannot as a matter of

 law give rise to inequitable conduct where the Examiner could review the reference and was able

 to consider the argument and accept or reject it. E.g., Rothman v. Target Corp., 556 F.3d 1310,

 1329 (Fed. Cir. 2009); Young v. Lumenis, Inc., 492 F.3d 1336, 1349 (Fed. Cir. 2007). “While the

 law prohibits genuine misrepresentations of material fact, a prosecuting attorney is free to

 present argument in favor of patentability without fear of committing inequitable conduct.”

 Rothman, 556 F.3d at 1328–29. This makes sense because the Examiner has the underlying

 references and the “discretion to reject or accept an applicant’s arguments based on the

 examiner’s own conclusions regarding the prosecution record.” Id. at 1329; see also Akzo N.V.

 v. ITC, 808 F.2d 1471, 1482 (Fed. Cir. 1986) (“examiner was free to reach his own conclusion

 regarding the Blades process based on the art in front of him”). In Innogenetics, N.V. v. Abbott

 Laboratories, noting that “our precedent has made clear that an applicant is free to advocate its

 interpretation of its claims and the teachings of prior art,” the Federal Circuit affirmed a

 summary judgment of no inequitable conduct and an award of attorneys’ fees incurred in

 defending the charge. 512 F.3d 1363 (Fed. Cir. 2008). Trial courts including in this District now

 routinely dismiss or reject as a matter of law allegations that an applicant committed inequitable

 conduct by misrepresenting a reference before the Examiner.

          The court appreciates Precision’s position that Shier and Paques expressly
          contradicted the teachings of Arnould. Precision does not cite authority
          demonstrating that this fact may substitute for independent evidence of intent to
          deceive, however, where the prior art at issue was a focus of the examination.
          Here, both examiners were free to credit or discount Shier and Paques’
          characterizations of Arnould in view of their own readings

 Cellectis S.A. v. Precision Biosciences, 883 F. Supp. 2d 526, 535 (D. Del. 2012) ; see also Bayer

 Schering Pharma AG v. Barr Labs., Inc., 2008 WL 628592, at *49 (D.N.J. Mar. 3, 2008)8;


 8
          “An applicant’s arguments supporting its patent application do not constitute inequitable

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 Sepracor Inc. v. Teva Pharm. USA, Inc., 2010 WL 2326262, at *6 (D.N.J. June 7, 2010).9

          Amgen’s allegation of inequitable conduct should be dismissed for the same reason.

 Amgen accuses Genentech of mischaracterizing the antibody numbering methodology in the

 “’101 patent,” “falsely distinguishing” the “Queen 1989” reference, and submitting an allegedly

 misleading comparison of Queen 1989 to the claimed sequences. Countercl. ¶¶ 271, 280-81. In

 all of these instances, the art was disclosed to and considered at length by the Examiner, who

 was free to reach its own contrary conclusion. An allegation of inequitable conduct cannot

 survive that acknowledged fact.

          Amgen’s unclean hands affirmative defense suffers from the same defect. Unclean hands

 and inequitable conduct “rise or fall together” when based on the same allegations. Senju

 Pharm. Co., 921 F. Supp. 2d at 306; see also The Medicines Co. v. Teva Parenteral Medicines,

 Inc., No. CV 09-750-ER, 2011 WL 13135647, at *23 (D. Del. Aug. 26, 2011). This case is

 complicated enough without injecting Amgen’s unfounded and legally impermissible theories of

 prosecution misconduct. Count 29 should be dismissed with prejudice and Amgen’s

 corresponding affirmative defenses (Numbers Fourteen and Fifteen) should be stricken.

 IV.      AMGEN’S COUNTERCLAIMS REGARDING UNASSERTED PATENTS
          SHOULD BE DISMISSED FOR LACK OF SUBJECT-MATTER JURISDICTION.

          The Court lacks subject-matter jurisdiction over Counts 8 and 15 where Amgen seeks

 declaratory judgments of non-infringement and invalidity of U.S. Patent Nos. 6,610,516 and


 conduct when the examiner has the prior art before him throughout the prosecution and, despite
 the applicant's attempt to distinguish that prior art, the examiner was free to reach his own
 conclusion regarding the prior art.”
 9
         “The second reason Wockhardt’s inequitable conduct claim must be dismissed is because
 the oral toxicity study results were before the examiner, and he was entitled to reach his own
 conclusions on the study. [lengthy string citation omitted] Therefore, any mischaracterization of
 the data would not rise to the level of inequitable conduct.”


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 7,323,553.

          Amgen takes the position that subject-matter jurisdiction exists because Genentech

 identified these two patents on its § 262(l)(3)(A) list, and then “refuse[d] to remove” them from

 the (l)(3)(A) list, or to “otherwise remove the existing case or controversy” surrounding these

 patents. Countercl. ¶¶ 120, 171. In fact, when Amgen asked about these patents during the

 “patent dance,” Genentech informed Amgen that “having reviewed your (l)(3)(B) contentions,

 Genentech has not served infringement contentions for them and does not intend to assert them

 against ABP 215.” Ex. 2 (emphasis added).10 True to its word, Genentech has not asserted these

 patents in either pending case.

          “ ‘[A] counterclaimant must show a continuing case or controversy with respect to

 withdrawn or otherwise unasserted claims.’ ” Fox Grp., Inc. v. Cree, Inc., 700 F.3d 1300, 1307

 (Fed. Cir. 2012) (quoting Streck, Inc. v. Research & Diagnostic Sys., Inc., 665 F.3d 1269, 1282–

 83 (Fed. Cir. 2012). In Fox Group, the Federal Circuit vacated a declaratory judgment in favor

 of a counterclaimant who challenged patents that were not asserted. The same rationale requires

 dismissal here. The litigation over Mvasi is underway, and Genentech is not asserting either

 patent. Amgen’s refusal to take “no” for an answer does not create a case or controversy.

                                            CONCLUSION

          For the reasons stated, Plaintiffs respectfully request that the Court dismiss each of

 Amgen’s Counterclaims and strike Amgen’s Third, Fourteenth, and Fifteenth Affirmative

 Defenses.
 10
         Although Amgen does not attach this document to its Counterclaims, the Court may
 consider it for purposes of determining whether a case or controversy exists as to the unasserted
 patents. See United States ex rel. Customs Fraud Investigations, LLC. v. Victaulic Co., 839 F.3d
 242, 251 (3d Cir. 2016) (“When a Rule 12(b)(1) motion is evaluated as a ‘factual attack’ on the
 Court’s subject matter jurisdiction, ‘the court may consider evidence outside the pleadings’ in
 evaluating that attack.” (quoting Gould Elecs. Inc. v. United States, 220 F.3d 169, 176 (3d Cir.
 2000))).

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                                           Respectfully Submitted,

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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


GENENTECH, INC. and CITY OF HOPE,    )
                                     )
                  Plaintiffs,        )
                                     )
             v.                      )
                                     )
AMGEN INC.                           ) C.A. No. 17-1471-GMS      Deleted: 1407
                                     )
                  Defendant.         ) FILED UNDER SEAL
                                     )
                                     )
                                     )
                                     )


              OPENING BRIEF IN SUPPORT OF PLAINTIFFS’
   MOTION TO DISMISS AND TO STRIKE DEFENDANT’S COUNTERCLAIMS
   AND THIRD, FOURTEENTH, AND FIFTEENTH AFFIRMATIVE DEFENSES
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                         NATURE AND STAGE OF PROCEEDINGS

       This litigation concerns Amgen’s plans to market Mvasi, a “biosimilar” version of

Genentech’s best-selling cancer medication Avastin® (bevacizumab). Following months of pre-

litigation exchanges under the Biologics Price Competition and Innovation Act (“BPCIA”),

Plaintiffs sued Amgen in October 2017 asserting that the manufacture, marketing, and sale of

Mvasi infringes more than two dozen patents. Amended and Supplemental Complaints followed

in December 2017.

       The present Motion challenges certain aspects of the counterclaims and affirmative

defenses Amgen filed with its Answer on May 1, 20181:

       1.      In twenty-nine counterclaims, Amgen seeks declaratory judgments of

noninfringement, invalidity, or unenforceability on all of the patents-in-suit, plus two others. But

the BPCIA forecloses such claims where the biosimilar applicant did not comply with its pre-

litigation production obligations, in particular the timely production of both its Abbreviated

Biologics License Application (“aBLA”) and “such other information that describes the process

or processes used to manufacture the biological product that is the subject of such application.”

42 U.S.C. §§ 262(l)(2)(A); (9)(C). It is undisputed that Amgen made no timely production of the

latter category, and indeed disclaimed any requirement that it do so.

       2.      Even were these claims permissible, Amgen’s validity challenges are facially

deficient. For the eight patents expiring by December 18, 2018—patents Amgen did not

challenge during the pre-litigation exchanges—the counterclaims include only the most

perfunctory allegations that are plainly deficient under Iqbal/Twombly. In the remaining

1
         Plaintiffs have filed separate motions and opening briefs in both of the parties’ pending
actions (Nos. 17-1407 and 17-1471). The differences between the two briefs are non-substantive
in nature. In order to minimize the burden on the Court, Plaintiffs have included as an addendum
to this brief a redline document showing the differences between the two filings.
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counterclaims Amgen purports to challenge validity on grounds the BPCIA does not permit.

        3.     Facial pleading deficiencies also infect Amgen’s assertion that Genentech

committed inequitable conduct during prosecution of one of the patents-in-suit by allegedly

misrepresenting the content of the prior art. The Patent Office was fully aware of the references

Amgen cites, and blackletter law holds that a patent owner cannot commit inequitable conduct

by making arguments that the Patent Office is free to accept or reject. Amgen’s Fourteenth and

Fifteenth Affirmative Defenses suffer from the same defects as the inequitable conduct

counterclaim they parrot, and accordingly, must be dismissed.

        4.     There is no case or controversy, and therefore no subject-matter jurisdiction, over

two counterclaims addressed to certain patents that Genentech has stated it will not assert against

Amgen’s Avastin® biosimilar.

                                          ARGUMENT

I.      AMGEN’S DECLARATORY JUDGMENT CLAIMS ARE BARRED UNDER
        THE BPCIA.

        The BPCIA bars Amgen from seeking declaratory judgments under 28 U.S.C. § 2201 et

seq., challenging any of the twenty-six patents-in-suit. For this reason Counterclaims 1–29           Deleted: five


should be dismissed for failure to state a claim under Rule 12(b)(6).

        The BPCIA requires innovators and biosimilar makers to engage in a robust pre-litigation

exchange of information, starting with the applicant’s production of its aBLA within twenty days

after the FDA accepts it, along with “such other information that describes the process or

processes used to manufacture the biological product,” essential information for the innovator’s

fair evaluation of the full scope of potential infringement.2 42 U.S.C. § 262(l)(2)(A). To


2
        As Amgen explained in other BPCIA litigation where it is the innovator and not the
generic, the required information about the applicant’s manufacturing processes is essential “to a
full and complete evaluation of [an innovator’s] patent portfolio,” because the aBLA typically

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encourage compliance the statute provides carrots and sticks. For example, applicants who

produce the aBLA and required “other information” on the prescribed schedule—within twenty

days after the FDA accepts the aBLA for filing—and who comply with the statute’s remaining

requirements are rewarded with substantial control over the timing and scope of any subsequent

patent litigation. Id. §§ 262(l)(4), (l)(5), (l)(8). Conversely, the BPCIA deters noncompliance by

expressly prohibiting claims under the Declaratory Judgment Act by applicants who do not

provide the innovator with the information the statute requires:

       If a subsection (k) applicant fails to provide the application and information
       required under paragraph (2)(A), the reference product sponsor, but not the
       subsection (k) applicant, may bring an action under section 2201 of title 28 for a
       declaration of infringement, validity, or enforceability of any patent that claims
       the biological product or a use of the biological product.
Id. § 262(l)(9)(C).

       Amgen’s undisputed noncompliance with § 262(l)(2)(A) has been a central feature of

proceedings in this Court since they started in February 2017. Amgen timely produced its aBLA

but disputed Genentech’s need for any “other information that describes the process or processes

used to manufacture the biological product that is the subject of such application,” or

alternatively Amgen’s obligation to produce additional information about its manufacturing

processes unless Genentech made a request of appropriate scope and specificity. When the

Court pointed out to Amgen that “you don’t get to constrain the flow of information to just the

application, the statute does not permit that,”3 Amgen argued that it could not be forced into



omits details about the applicant’s manufacturing processes that may infringe the innovator’s
process patents. See Amgen Inc. v. Hospira, Inc., No. 15-cv-00839-RGA, D.I. 1 (Complaint)
(filed D. Del. Sept. 18, 2015).
3
       Ex. 1 at 25. All citations to “Ex.” refer to the exhibits to the Declaration of Thomas S.
Fletcher submitted herewith. See also id. at 23 (“[T]he statute doesn’t say just the information in
the application. With all due respect, Mr. Gutman, it doesn’t say that, and that seems to be the
way you’re reading it. . . . That’s not the way I read the statute.”); 24 (“Now, you can write until

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compliance, and that Genentech’s only recourse were the remedies set forth in the statute. See

D.I. 11, Case No. 17-165-GMS (D. Del.) (D. Del. Feb. 27, 2017).

       This Motion now invokes one of those statutory remedies. The BPCIA makes clear, and

other courts have held, that “failure to comply with the information exchange requirements of the

BPCIA bar[s] the applicant from bringing a declaratory judgment action against the reference

product sponsor.” Celltrion Healthcare Co. v. Kennedy Tr. for Rheumatology Research, 2014

WL 6765996, at *5 (S.D.N.Y. Dec. 1 2014) (dismissing declaratory judgment action); see also

Celltrion, Inc. v. Genentech, Inc., No. 18-cv-00276, D.I. 47 (Memorandum Order) (filed N.D.

Cal. May 9, 2018) (same).

               Under § 262(l)(9)(C), if an applicant fails to provide its application
               and manufacturing information to the sponsor under
               § 262(l)(2)(A), then the sponsor, but not the applicant, may
               immediately bring an action for a declaration of infringement,
               validity, or enforceability . . . .

Sandoz Inc. v. Amgen Inc., 137 S. Ct. 1664, 1666 (2017); see also Hospira, Inc. v. Janssen

Biotech, Inc., 2014 WL 6766263 (S.D.N.Y. 2014) (dismissing declaratory judgment action);

Sandoz Inc. v. Amgen Inc., 2013 WL 6000069, at *2 (N.D. Cal. Nov. 12, 2013) (biosimilar

applicant “cannot bring an action of declaratory relief until, at minimum, it has complied with its

obligations under § 262(l)(2)(A)”), aff’d on other grounds, 773 F.3d 1274 (Fed. Cir. 2014).

Every court to have considered this question has answered it the same way.

       It is not correct, as Amgen appears to contend, that once an applicant provides notice of

commercial marketing under 42 U.S.C. § 262(l)(8) “any limitation under the BPCIA on bringing

an action [under the Declaratory Judgment Act] is lifted.” See Countercl. ¶ 16. As Judge Wu

held in dismissing the anticipatory lawsuit Amgen filed in California in an effort to preempt this


the cows come home, Mr. Gutman, but you’re not going to persuade me, aside from your
procedural argument, that the statute doesn’t say what the statute says.”).

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action, the notice of commercial marketing explicitly abates only one of the limitations on an

applicant’s ability to seek declaratory relief: the limitation in (l)(9)(A); it does not lift the

limitation in (l)(9)(C). See Amgen Inc. v. Genentech, Inc., 2018 WL 910198, at *4 (C.D. Cal.

Jan. 11, 2018) (“Amgen’s argument that it was entitled to bring suit after providing its notice

under § 262(l)(8)(A) but before completing the rest of the BPCIA’s patent list exchange steps is

rejected”). In other words, fully compliant applicants have only a limited right to seek

declaratory relief; noncompliant applicants have none at all. Counts 1–29 should be dismissed

on this basis.

II.      AMGEN’S INVALIDITY CLAIMS EXCEED THE PERMISSIBLE SCOPE
         UNDER THE BPCIA.

         The Counterclaims challenging the validity of all of the patents-in-suit should be

dismissed under Rule 12(b)(6), and Amgen’s corresponding Third Affirmative Defense stricken

under Rule 12(f), for an additional reason: Those allegations exceed the permissible scope under

the BPCIA and, as to the subset Amgen did not challenge during the exchange of BPCIA

contentions, assert no factual basis justifying the relief sought.

      A. The BPCIA Restricts The Scope Of Permissible Validity Challenges.

         As part of the BPCIA dispute resolution process (commonly called the “patent dance”),

the parties are required to exchange contentions on the merits of the infringement claims. Sixty

days after the innovator identifies patents it believes to be infringed by the proposed biosimilar,

the applicant provides non-infringement and invalidity/unenforceability contentions to all patents

except those it plans to let expire before commercialization, 42 U.S.C. § 262(l)(3)(B). Sixty days

after that the innovator provides responsive contentions for those patents it still believes are

infringed, id. at § 262(l)(3)(C).

         Amgen’s Counterclaims and Affirmative Defenses treat the BPCIA contentions as having



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no force or effect, leaving Amgen free to assert validity positions it did not disclose as part of the

statutory exchanges. See, e.g., Affirmative Def. ¶ 3; Countercl. ¶ 102 (patents are invalid “for at

least the reasons set forth in Amgen’s disclosure pursuant to 42 U.S.C. § 262(l)(3)(B)”

(emphasis added)). The statute does not permit this.

       The “unique and elaborate process for information exchange” enacted in the BPCIA,

including the exchange of contentions concerning infringement, validity, and enforceability the

parties completed last July, was designed and intended “to resolve patent disputes” prior to the

commencement of litigation. Amgen Inc. v. Sandoz, Inc. 794 F.3d 1357, 1352 (Fed. Cir. 2015).

Innovator companies, biosimilar applicants, and the courts depend on the exchange of

information that occurs during this process to make these sprawling litigations manageable—

they determine which patents will be litigated, when they will be litigated, and how the litigation

will unfold.4 By participating in the “patent dance,” the applicant obtains valuable information

about the innovator’s infringement and validity positions, can prevent the innovator from filing a

declaratory judgment suit, and gains “substantial control over the scope of the first phase of

litigation” by limiting the number of patents in that phase to as few as one. Sandoz, 137 S. Ct. at

1671 (citing § 262(l)(5)(B)(ii)); see also id. § 262(l)(9)(B). If the applicant identifies compelling

invalidity or non-infringement positions, the sponsor may drop certain patents from the “patent
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         Even in the context of district courts’ patent local rules, where contentions can be
amended by leave of the court, parties are often held to the contentions they have made early in
litigation. Indeed, courts routinely penalize attempts to deviate from the contentions required by
the patent local rules, including by refusing to entertain claim-construction and infringement
arguments made “after the relevant cut-off dates under the . . . [r]ules,” SanDisk Corp. v.
Memorex Prods., Inc., 415 F.3d 1278, 1292 (Fed. Cir. 2005), striking claims that were not
asserted in preliminary contentions, Informatica Corp. v. Bus. Objects Data Integration, Inc.,
No. C 02-3378 JSW, 2006 WL 463549 (N.D. Cal. Feb. 23, 2006), and excluding “evidence
because of the failure to comply with the disclosure deadlines required by the local patent
rules.” O2 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 467 F.3d 1355 (Fed. Cir. 2006). The
case for holding Amgen to its contentions is all the more compelling in the context of the
BPCIA’s statutory requirement to provide contentions to narrow the parties’ disputes.


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dance.” This is precisely what occurred here—after receiving Amgen’s (l)(3)(B)(ii)(I)

contentions as to nineteen patents, Genentech chose to serve its own responsive contentions for

only seventeen of those patents, removing two patents from dispute. See infra Part IV. The

exchange of contentions may also lead the parties to prioritize resolution of certain patent

disputes, selecting them for the “immediate patent infringement action” described in § 262(l)(6)

and leaving other patents to be addressed after the applicant provides notice under § 262(l)(8).

       It would defeat these objectives and throw the statutory scheme into chaos if the parties’

contentions became non-binding once the BPCIA litigation started, as Amgen’s Counterclaims

and Affirmative Defenses contemplate. Were applicants like Amgen allowed to provide new

invalidity contentions after completion of the “patent dance,” they easily could avoid the

obligation to provide meaningful (l)(3)(B)(ii)(I) contentions, even for those potentially infringed

patents the applicant fully intends to challenge. The applicant could, for example, provide

limited contentions for the patents about which the applicant is most confident and then, for other

patents, simply make the sort of boilerplate assertion found in Amgen’s counterclaims—that the

patent’s claims “are invalid for failure to comply with one or more conditions of patentability set

forth in one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112, or under other

judicially-created bases for invalidation and/or unenforceability.” E.g., Countercl. ¶ 71. The

applicant could leave the sponsor in the dark about its true invalidity position while still forcing

the sponsor to serve responsive contentions, expose its own litigation strategy, and select patents

to litigate in the immediate infringement action and later preliminary injunction proceedings

based on incomplete information. See 42 U.S.C. § 262(l)(6), (l)(8).

       An applicant could even refrain from providing BPCIA contentions at all. That is

precisely what Amgen did as to the eight patents for which Amgen represented under 42 U.S.C.




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§ 262(l)(3)(B)(ii)(II) that “it does not intend to begin commercial marketing of its ABP 215

biosimilar product before the dates of expiration” of these patents. Making that representation

allowed Amgen to serve no invalidity contentions as to any of the eight patents in question. No

applicant would ever provide the contentions contemplated by § 262(l)(3)(B)(ii)(I) if it could

instead simply make an illusory commitment not to commercially market its product and then

challenge the validity of the sponsor’s patents at a later date, and on an undisclosed basis,

without consequence.

       In short, if the contentions exchanged during the “patent dance” do not define the scope

of the litigation, what purpose do they serve?5

       The Court has set an extremely accelerated schedule compared to similar BPCIA

litigations involving comparable numbers of patents, including the only other case in which

Amgen was a biosimilar applicant. AbbVie Inc., et al. v. Amgen Inc., et al., C.A. No. 16-666-

SLR, D.I. 26; AbbVie Inc., et al. v. Boehringer Ingelheim Int’l, et al., C.A. No. 17-1065-MSG,


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       In a recent case where it was the innovator company, Amgen echoed many of these
concerns to enforce a representation a generic applicant made during the “patent dance”:
               It cannot be the case that a biosimilar applicant can simply
               disavow its own statements made during the statutory exchange,
               especially after such detrimental reliance on the part of the
               Reference Product Sponsor. . . . Otherwise, the purposes of the
               statutory information exchange—efficient resolution of patent
               issues—would be thwarted.

Amgen Inc. v. Apotex, Inc., 17-1010, ECF No. 28 at 45 (Fed. Cir. Dec. 5, 2016). The need to
enforce an applicant’s (l)(3)(B) contentions is, if anything, more pressing in this case. Amgen’s
grievance in Apotex concerned a question of fact (the concentration of a certain protein) that
could be independently investigated. The Federal Circuit’s unpublished decision in the Apotex
case explicitly indicates that it was not asked to resolve, and did not resolve, the question
presented by this motion. See Amgen Inc. v. Apotex Inc., 712 F. App’x 985, 989 (Fed. Cir. 2017)
(“Amgen does not argue that Apotex is legally bound by its statements about protein
concentration [during the “patent dance”]; indeed, both in the district court and in this court,
Amgen has disclaimed such an argument.”).


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D.I. 29. That schedule requires Plaintiffs, in the early stages of fact discovery, to narrow the case

by selecting eight of the twenty-six asserted patents to pursue. The notion that Plaintiffs must        Deleted: five


make that crucial selection without the assurance that Amgen’s arguments are limited to those

Amgen disclosed when it was narrowing disputes during the patent dance is unprecedented,

unworkable, and unfair. The only realistic prospect for meeting the Court’s schedule for

narrowing and litigating this case is for the parties’ disputes to shrink, not expand. Plaintiffs

respectfully submit that the Court should hold Amgen to its previously served contentions and, to

the extent they rely on invalidity positions Amgen did not disclose during the “patent dance,”

dismiss Amgen’s invalidity allegations under Rule 12(b)(6), and strike its Third Affirmative

Defense under Rule 12(f).

   B. For Eight Patents, Amgen Pleads Nothing But Boilerplate.

       Amgen represented that it would not commercialize Mvasi before December 18, 2018,

and consequently served no BPCIA contentions challenging the infringement or validity of eight

patents-in-suit that expire by that date.6 D.I. 39 (First Am. Compl.) ¶ 18. Amgen apparently            Deleted: 41
                                                                                                        Deleted: 9.
believed that its representation would somehow shield its infringing pre-launch manufacturing

activities. This is not the case. Plaintiffs’ operative Complaint therefore includes allegations that

Amgen infringed these patents by, inter alia, its pre-launch manufacturing activities. Amgen

responded with counterclaims seeking to invalidate the patents. These counterclaims should be

dismissed for the additional reason that Amgen’s pleading fails to provide any factual basis to

support them.

       “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements

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       Those patents are U.S. Patent Nos. 6,054,297 (Counterclaim Count 1); 6,121,428
(Counterclaim Count 2); 6,242,177 (Counterclaim Count 3); 6,331,415 (Counterclaim Count 4);
6,884,879 (Counterclaim Count 11); 7,297,334 (Counterclaim Count 14); 7,375,193
(Counterclaim Count 16); 7,923,221 (Counterclaim Count 19).


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of a cause of action will not do.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Neither will a pleading that offers only “ ‘naked

assertion[s]’ devoid of ‘further factual enhancement.’ ” Id. (quoting Twombly, 550 U.S. at 557)

(alteration in original). To survive a motion to dismiss, Amgen’s counterclaims “must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’ ”

Id. (quoting Twombly, 550 U.S. at 555). These standards apply equally to counterclaims and

complaints alike. See Senju Pharm. Co. v. Apotex, Inc., 921 F. Supp. 2d 297, 302–03 (D. Del.

2013); accord Idenix Pharm., Inc. v. Gilead Scis., Inc., No. CV 13-1987-LPS, 2014 WL

4222902, at *5 (D. Del. Aug. 25, 2014); EMC Corp. v. Zerto, Inc., No. CV 12-956-GMS, 2014

WL 3809365, at *2 (D. Del. July 31, 2014). A counterclaim seeking a declaratory judgement of

invalidity must “contain sufficient factual matter to satisfy the pleading standards set forth in

Twombly and Iqbal.” EMC Corp., 2014 WL 3809365, at *2.

        For the eight patents it did not address in its BPCIA invalidity contentions, Amgen does

not come close to satisfying this requirement, offering nothing but the boilerplate allegation that

the patents’ claims “are invalid for failure to comply with one or more conditions of patentability

set forth in one or more provisions of 35 U.S.C. §§ 101, 102, 103, and/or 112, or under other

judicially-created bases for invalidation and/or unenforceability.” E.g., Countercl. ¶ 71. This is

nothing but “a mere legal conclusion, [with] no supporting facts,” that simply “cites four broad

provisions of Title 35 of the United States Code,” Tyco Fire Prod. LP v. Victaulic Co., 777 F.

Supp. 2d 893, 904 (E.D. Pa. 2011), and for that reason “plainly does not satisfy [the

Twombly/Iqbal] standard.” Id. Courts routinely reject such “bare-bones” assertions of invalidity

in counterclaims. See EMC Corp., 2014 WL 3809365, at *2 (dismissing under Twombly and

Iqbal counterclaims alleging “invalid[ity] for failure to comply with the conditions for




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patentability specified by Title 35 of the United States Code, including without limitation 35

U.S.C. §§ 101, 102, 103 and 112”); see also Senju Pharm. Co., 921 F. Supp. 2d at 300 (rejecting

a substantially similar pleading); Idenix Pharm., Inc., 2014 WL 4222902, at *6 (same).7

III.   AMGEN FAILS TO PLEAD A VIABLE THEORY OF INEQUITABLE
       CONDUCT.

       Count 29 seeks a declaration that one of the asserted patents, U.S. Patent No. 6,407,213

(“Carter/Presta”), is unenforceable for inequitable conduct. See Countercl. ¶¶269-82 (Count 29);

see also Aff. Defs. ¶¶ 15-26 (Fourteenth and Fifteenth Affirmative Defenses asserting unclean

hands and inequitable conduct based on same allegations in Count 29). Carter/Presta is a

“composition of matter” patent that claims antibodies including bevacizumab, the active

ingredient in Avastin® and the molecule Amgen has copied. Any manufacture of bevacizumab

in the United States prior to Carter/Presta’s expiry would be infringing.

       Unlike the typical inequitable conduct case, see, e.g., Therasense, Inc. v. Becton,

Dickinson & Co., 649 F.3d 1276, 1290 (Fed. Cir. 2011) (en banc), Amgen does not allege that

Genentech deliberately concealed references in its possession from the Patent Office. On the

contrary, Amgen acknowledges that the Patent Office possessed and explicitly considered the

two identified references—“Queen 1989” and the “’101 patent,” Aff. Defs. ¶¶ 16-17—the

Examiner having cited each of them as the basis for rejections during prosecution, Aff. Defs.

¶¶ 18, 20. Amgen’s theory challenges Genentech’s arguments about what these references teach.

Id. ¶ 16; Countercl. ¶ 271.

       This is a legally inadequate allegation of inequitable conduct. The Federal Circuit has


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        It is true that these eight Counterclaims also incorporate by reference the invalidity
contentions Amgen provided during the “patent dance” pursuant to 42 U.S.C. § 262(l)(3)(B).
E.g., Countercl. ¶ 71. That incorporation provides no factual support for Amgen’s assertions,
given that its BPCIA contentions did not challenge the validity or infringement of those patents.


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held repeatedly that a patent applicant’s characterizations of the prior art cannot as a matter of

law give rise to inequitable conduct where the Examiner could review the reference and was able

to consider the argument and accept or reject it. E.g., Rothman v. Target Corp., 556 F.3d 1310,

1329 (Fed. Cir. 2009); Young v. Lumenis, Inc., 492 F.3d 1336, 1349 (Fed. Cir. 2007). “While the

law prohibits genuine misrepresentations of material fact, a prosecuting attorney is free to

present argument in favor of patentability without fear of committing inequitable conduct.”

Rothman, 556 F.3d at 1328–29. This makes sense because the Examiner has the underlying

references and the “discretion to reject or accept an applicant’s arguments based on the

examiner’s own conclusions regarding the prosecution record.” Id. at 1329; see also Akzo N.V.

v. ITC, 808 F.2d 1471, 1482 (Fed. Cir. 1986) (“examiner was free to reach his own conclusion

regarding the Blades process based on the art in front of him”). In Innogenetics, N.V. v. Abbott

Laboratories, noting that “our precedent has made clear that an applicant is free to advocate its

interpretation of its claims and the teachings of prior art,” the Federal Circuit affirmed a

summary judgment of no inequitable conduct and an award of attorneys’ fees incurred in

defending the charge. 512 F.3d 1363 (Fed. Cir. 2008). Trial courts including in this District now

routinely dismiss or reject as a matter of law allegations that an applicant committed inequitable

conduct by misrepresenting a reference before the Examiner.

       The court appreciates Precision’s position that Shier and Paques expressly
       contradicted the teachings of Arnould. Precision does not cite authority
       demonstrating that this fact may substitute for independent evidence of intent to
       deceive, however, where the prior art at issue was a focus of the examination.
       Here, both examiners were free to credit or discount Shier and Paques’
       characterizations of Arnould in view of their own readings

Cellectis S.A. v. Precision Biosciences, 883 F. Supp. 2d 526, 535 (D. Del. 2012) ; see also Bayer

Schering Pharma AG v. Barr Labs., Inc., 2008 WL 628592, at *49 (D.N.J. Mar. 3, 2008)8;


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       “An applicant’s arguments supporting its patent application do not constitute inequitable

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Sepracor Inc. v. Teva Pharm. USA, Inc., 2010 WL 2326262, at *6 (D.N.J. June 7, 2010).9

       Amgen’s allegation of inequitable conduct should be dismissed for the same reason.

Amgen accuses Genentech of mischaracterizing the antibody numbering methodology in the

“’101 patent,” “falsely distinguishing” the “Queen 1989” reference, and submitting an allegedly

misleading comparison of Queen 1989 to the claimed sequences. Countercl. ¶¶ 271, 280-81. In

all of these instances, the art was disclosed to and considered at length by the Examiner, who

was free to reach its own contrary conclusion. An allegation of inequitable conduct cannot

survive that acknowledged fact.

       Amgen’s unclean hands affirmative defense suffers from the same defect. Unclean hands

and inequitable conduct “rise or fall together” when based on the same allegations. Senju

Pharm. Co., 921 F. Supp. 2d at 306; see also The Medicines Co. v. Teva Parenteral Medicines,

Inc., No. CV 09-750-ER, 2011 WL 13135647, at *23 (D. Del. Aug. 26, 2011). This case is

complicated enough without injecting Amgen’s unfounded and legally impermissible theories of

prosecution misconduct. Count 29 should be dismissed with prejudice and Amgen’s

corresponding affirmative defenses (Numbers Fourteen and Fifteen) should be stricken.

IV.    AMGEN’S COUNTERCLAIMS REGARDING UNASSERTED PATENTS
       SHOULD BE DISMISSED FOR LACK OF SUBJECT-MATTER JURISDICTION.

       The Court lacks subject-matter jurisdiction over Counts 8 and 15 where Amgen seeks

declaratory judgments of non-infringement and invalidity of U.S. Patent Nos. 6,610,516 and


conduct when the examiner has the prior art before him throughout the prosecution and, despite
the applicant's attempt to distinguish that prior art, the examiner was free to reach his own
conclusion regarding the prior art.”
9
        “The second reason Wockhardt’s inequitable conduct claim must be dismissed is because
the oral toxicity study results were before the examiner, and he was entitled to reach his own
conclusions on the study. [lengthy string citation omitted] Therefore, any mischaracterization of
the data would not rise to the level of inequitable conduct.”


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7,323,553.

        Amgen takes the position that subject-matter jurisdiction exists because Genentech

identified these two patents on its § 262(l)(3)(A) list, and then “refuse[d] to remove” them from

the (l)(3)(A) list, or to “otherwise remove the existing case or controversy” surrounding these

patents. Countercl. ¶¶ 120, 171. In fact, when Amgen asked about these patents during the

“patent dance,” Genentech informed Amgen that “having reviewed your (l)(3)(B) contentions,

Genentech has not served infringement contentions for them and does not intend to assert them

against ABP 215.” Ex. 2 (emphasis added).10 True to its word, Genentech has not asserted these

patents in either pending case.

        “ ‘[A] counterclaimant must show a continuing case or controversy with respect to

withdrawn or otherwise unasserted claims.’ ” Fox Grp., Inc. v. Cree, Inc., 700 F.3d 1300, 1307

(Fed. Cir. 2012) (quoting Streck, Inc. v. Research & Diagnostic Sys., Inc., 665 F.3d 1269, 1282–

83 (Fed. Cir. 2012). In Fox Group, the Federal Circuit vacated a declaratory judgment in favor

of a counterclaimant who challenged patents that were not asserted. The same rationale requires

dismissal here. The litigation over Mvasi is underway, and Genentech is not asserting either

patent. Amgen’s refusal to take “no” for an answer does not create a case or controversy.

                                         CONCLUSION

        For the reasons stated, Plaintiffs respectfully request that the Court dismiss each of

Amgen’s Counterclaims and strike Amgen’s Third, Fourteenth, and Fifteenth Affirmative

Defenses.
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        Although Amgen does not attach this document to its Counterclaims, the Court may
consider it for purposes of determining whether a case or controversy exists as to the unasserted
patents. See United States ex rel. Customs Fraud Investigations, LLC. v. Victaulic Co., 839 F.3d
242, 251 (3d Cir. 2016) (“When a Rule 12(b)(1) motion is evaluated as a ‘factual attack’ on the
Court’s subject matter jurisdiction, ‘the court may consider evidence outside the pleadings’ in
evaluating that attack.” (quoting Gould Elecs. Inc. v. United States, 220 F.3d 169, 176 (3d Cir.
2000))).

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May 22, 2018




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                                 CERTIFICATE OF SERVICE

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 document were caused to be served on May 22, 2018 on the following counsel in the manner

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